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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. MJ12-636

10          v.                                           DETENTION ORDER

11 GERMAN HEREDIA,

12                                Defendant.

13 Offense charged:

14          Possession with Intent to Distribute Controlled Substances.

15 Date of Detention Hearing: December 3, 2012.

16          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

17 and based upon the factual findings and statement of reasons for detention hereafter set forth,

18 finds that no condition or combination of conditions which the defendant can meet will

19 reasonably assure the appearance of the defendant as required and the safety of any other person

20 and the community.

21               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          Defendant is charged with a crime that carries a presumption of detention and has failed

23 to overcome that presumption. The Court received no information about defendant’s ties to the



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 1 community, residence, health or personal background. Defendant did not contest detention.

 2          It is therefore ORDERED:

 3          (1)    Defendant shall be detained pending trial and committed to the custody of the

 4 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 5 from persons awaiting or serving sentences, or being held in custody pending appeal;

 6          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 7 counsel;

 8          (3)    On order of a court of the United States or on request of an attorney for the

 9 Government, the person in charge of the correctional facility in which Defendant is confined

10 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

11 connection with a court proceeding; and

12          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

13 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

14 Officer.

15       DATED this 3rd day of December, 2012.

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17                                                        A
                                                          BRIAN A. TSUCHIDA
18                                                        United States Magistrate Judge

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     DETENTION ORDER - 2
